 Case 3:21-cv-00591-MMH-MCR Document 1 Filed 06/11/21 Page 1 of 8 PageID 1




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

DAVID POSCHMANN,

                 Plaintiff,
v.
                                                                CASE NO.

810 BEACH, INC.,

          Defendant.
_________________________________/

                                       COMPLAINT

       Plaintiff, David Poschmann, by and through his undersigned counsel, hereby

sues the Defendant, 810 BEACH, INC., for injunctive relief pursuant to the

Americans With Disabilities Act, 42 U.S.C. §12181, et seq. (the "ADA") and in

support thereof states as follows:

                                     JURISDICTION

       1.        This court has subject-matter jurisdiction since this action arises

pursuant to 28 U.S.C. § 1331 and §1343 and Plaintiff’s claims arise under 42

U.S.C. §12181 et seq. based upon Defendant's violations of Title III of the ADA.

                                          VENUE


            2.     Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b)

(2) because Defendant is a resident of this district and the facility, whose online

reservation system is at issue herein, is situated in this district.
 Case 3:21-cv-00591-MMH-MCR Document 1 Filed 06/11/21 Page 2 of 8 PageID 2




                                      PARTIES

          3. Plaintiff, David Poschmann, is an individual who is over eighteen

years of age and sui juris. Plaintiff is disabled as such term is defined by the ADA

and is substantially limited in performing one or more major life activities due to

the amputation of his right leg in 2012. Plaintiff uses a wheelchair to ambulate.

Plaintiff drives his own specially equipped vehicle and has a valid disabled parking

permit from the Florida Department of Highway Safety and Motor Vehicles.

Defendant's online hotel reservation system fails to comply with any of the

requirements of 28 C.F.R. §36.302(e) and therefore Plaintiff's full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered thereon are restricted and limited because of Plaintiff’s

disability and will be restricted in the future unless and until Defendant is

compelled to cure the substantive ADA violations contained on its

online reservation system. Plaintiff intends to visit the online reservation system

for Defendant's hotel in the near future, and within thirty (30) days, to book a hotel

room and utilize the goods, services, facilities, privileges, advantages and/or

accommodations being offered and/or to test the online reservation system for

compliance with 28 C.F.R. §36.302(e).

         4. Defendant is the owner and operator of the Beachfront Bed &

Breakfast located at 1 F Street in St. Augustine Beach, Florida ("the Beachfront").



                                           2
Case 3:21-cv-00591-MMH-MCR Document 1 Filed 06/11/21 Page 3 of 8 PageID 3




The online reservation system for the Beachfront is found at

www.beachfrontbandb.com.

      CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

         5. On July 26, 1990, Congress enacted the ADA explaining that the

purpose of the ADA was to provide a clear and comprehensive national mandate

for the elimination of discrimination against individuals with disabilities and to

provide clear, strong, consistent, enforceable standards addressing said

discrimination, invoking the sweep of congressional authority in order to address

the major areas of discrimination faced day-to-day by people with disabilities to

ensure that the Federal government plays a central role in enforcing the standards

set by the ADA. (42 U.S.C. § 12101(b)(1)-(4)).

         6. Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15,

2010, the Department of Justice, Office of the Attorney General, published revised

regulations for Title III of the Americans With Disabilities Act of 1990 in the

Federal Register to implement the requirements of the ADA. Public

accommodations, including places of lodging, were required to conform to these

regulations on or before March 15, 2012.

         7. On March 15, 2012, new regulations implementing Title III of the

ADA took effect, imposing significant new obligations on inns, motels, hotels and

other "places of lodging". 28 C.F.R. §36.302(e) states:



                                           3
    Case 3:21-cv-00591-MMH-MCR Document 1 Filed 06/11/21 Page 4 of 8 PageID 4




       ''(1) Reservations made by places of lodging. A public accommodation that
owns, leases (or leases to), or operates a place of lodging shall, with respect to
reservations made by any means, including by telephone, in-person, or through a
third party -
(i) Modify its policies, practices, or procedures to ensure that individuals with
disabilities can make reservations for accessible guest rooms during the same hours
and in the same manner as individuals who do not need accessible rooms;
(ii) Identify and describe accessible features in the hotels and guest rooms offered
through its reservations service in enough detail to reasonably
permit individuals with disabilities to assess independently whether a given hotel
or guest room meets his or her accessibility needs;1
(iii) Ensure that accessible guest rooms are held for use by individuals with
disabilities until all other guest rooms of that type have been rented and the
accessible room requested is the only remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
and ensure that the guest rooms requested are blocked and removed from all
reservations systems; and
(v) Guarantee that the specific accessible guest room reserved through its
reservations service is held for the reserving customer, regardless of whether a
specific room is held in response to reservations made by others."
          8. The Beachfront is a place of public accommodation that owns and/or

leases and operates a place of lodging pursuant to the ADA. The Beachfront has an

online reservation system whereby potential patrons may reserve a hotel room. The



1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions
to ADA Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and
Commercial Facilities", provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis
and guidance, the Department of Justice's official comments state that "information about the Hotel
should include, at a minimum, information about accessible entrances to the hotel, the path of travel to
guest check-in and other essential services, and the accessible route to the accessible room or rooms. In
addition to the room information described above, these hotels should provide information about
important features that do not comply with the 1991 Standards." An agency's interpretation of its own
regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1), must be given
"substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with the
regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405
(1994).


                                                     4
 Case 3:21-cv-00591-MMH-MCR Document 1 Filed 06/11/21 Page 5 of 8 PageID 5




reservation system is subject to the requirements of 28 C.F.R.§ 36.302(e) and

Defendant is responsible for said compliance.

        9. Most recently, during May, 2021 Plaintiff attempted to specifically

identify and book a guaranteed reservation for an accessible hotel room at the

Beachfront through the Beachfront’s online reservation system but was unable to

do so due to Defendant's failure to comply with the requirements set forth in

paragraph 7.

        10. Plaintiff is an advocate of the rights of similarly situated disabled

persons and, pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323

(11th Cir. 2013), is a "tester" for the purpose of asserting his civil rights,

monitoring, ensuring, and determining whether places of public accommodation,

including online reservation systems for places of lodging, are in compliance with

the ADA.

        11. Defendant has discriminated against Plaintiff by denying him access

to and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and accommodations offered through the Beachfront’s online

reservation system due to the substantive ADA violations contained thereon.

       12. The online reservation system for the Beachfront encountered by

Plaintiff when he visited it failed to comply with any of the requirements of 28

C.F.R.§ 36.302(e)(1). When Plaintiff visited the Beachfront’s online reservation



                                            5
 Case 3:21-cv-00591-MMH-MCR Document 1 Filed 06/11/21 Page 6 of 8 PageID 6




system he tried to make a reservation for an accessible hotel room at the

Beachfront, since he requires an accessible hotel room due to the amputation of his

right leg, but it was not possible to make such a reservation. It was possible to

reserve a hotel room that was not accessible. For this reason Defendant has no

policy, practice, or procedure in place to ensure that individuals with disabilities

can make reservations for accessible hotel rooms during the same hours and in the

same manner as individuals who do not need accessible hotel rooms. This

constitutes a violation of 28 C.F.R.§ 36.302(e)(1)(i). When Plaintiff visited the

Beachfront’s online reservation system he searched the site for the identification

and descriptions of accessible features at the Beachfront and hotel rooms offered

through the reservation service so that he could assess independently whether the

Beachfront or a specific hotel room met his accessibility needs in light of his

disability but the reservation service contained no such descriptions at all. This

constitutes a violation of 28 C.F.R.§ 36.302(e)(1)(ii). In light of the foregoing,

Defendant also necessarily violated 28 C.F.R. §36.302(e)(1)(iii)-(v) in that since

the online reservation service does not describe any accessible hotel room and does

not, in turn, allow the reserving of such accessible hotel room, the Website cannot

hold such unavailable accessible hotel room in the reservation system until all

other units have been rented, block such unavailable accessible hotel rooms from




                                           6
    Case 3:21-cv-00591-MMH-MCR Document 1 Filed 06/11/21 Page 7 of 8 PageID 7




the system once reserved, and guaranty that such unavailable hotel rooms will be

held for the reserving customer as required by sections (iii) - (v) respectively.

        13. Plaintiff is without an adequate remedy at law and is suffering

irreparable harm and he reasonably anticipates that he will continue to suffer

irreparable harm unless and until Defendant is required to correct the ADA

violations to the online reservation system for the Beachfront and maintain the

online reservation system and accompanying policies in a manner that is consistent

with and compliant with the requirements of 28 C.F.R. §36.302(e).

         14. Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

and expenses from Defendant, including litigation expenses and costs pursuant to

42 U.S.C. §12205.

         15. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority

to grant injunctive relief to Plaintiff, including an Order compelling Defendant to

implement policies, consistent with the ADA, to accommodate the disabled, by

requiring Defendant to alter and maintain its online reservation system in

accordance with the requirements set forth in paragraph 7 above.2


2 The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop,
and strictly enforce, a policy requiring regular monitoring of its online reservations system. As rates and
classes of hotel rooms at the Beachfront, and the number and type of hotel rooms, beds, accommodations
and amenities offered in the various unit types change from time to time, the availability of accessible
units must be re-dispersed across these various price points, classes, as well as across units with disparate



                                                      7
 Case 3:21-cv-00591-MMH-MCR Document 1 Filed 06/11/21 Page 8 of 8 PageID 8




        WHEREFORE, Plaintiff, David Poschmann, requests that the Court issue a

permanent injunction enjoining Defendant from continuing its discriminatory

practices, ordering Defendant to implement policies, consistent with the ADA, to

accommodate the disabled, through requiring Defendant to alter and maintain the

online reservation system for the Beachfront in accordance with the requirements

set forth in paragraph 7 above, and awarding Plaintiff reasonable attorneys’ fees,

litigation expenses, including expert fees, and costs.

                                                        s/Drew M. Levitt
                                                        DREW M. LEVITT
                                                        Florida Bar No: 782246
                                                        drewmlevitt@gmail.com
                                                        LEE D. SARKIN
                                                        Florida Bar No. 962848
                                                        Lsarkin@aol.com
                                                        4700 N.W. Boca Raton Boulevard
                                                        Suite 302
                                                        Boca Raton, Florida 33431
                                                        Telephone (561) 994-6922
                                                        Facsimile (561) 994-0837
                                                        Attorneys for Plaintiff




features (2010 ADA Standard 224.5). In light of the foregoing, in addition to regular ongoing website
maintenance and to reflect physical changes at the Beachfront, the online reservations system must
continuously be updated to properly reflect and describe Defendant's compliance with the substantive
ADA Standards regarding accessible hotel rooms in accordance with 28 C.F.R. 36.302(e)(1).


                                                    8
